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                                 134134



                        IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

______________________________________

In Re: COOK MEDICAL, INC., IVC FILTERS                      Case No. 1:14-ml-2570-RLY-TAB
MARKETING, SALES PRACTICES AND                                                MDL No. 2570
PRODUCTS LIABILITY LITIGATION
______________________________________

This Document Relates to:

      Gerald Brown
      1:18-cv-00663-RLY-MJD
______________________________________

                                 SUGGESTION OF DEATH

To:    The Clerk of Court and all parties of record:

       Pursuant to the Federal Rules of Civil Procedure, the undersigned hereby suggests the

death, on the record, of Plaintiff Gerald Brown, whose death occurred on June 6, 2021.

                                             Respectfully Submitted,


                                             /s/Michael S. Kruse
                                             Michael S. Kruse, EDMo # 57818MO
                                             NIEMEYER, GREBEL & KRUSE, LLC
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                                             Attorney for Plaintiff




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                                 134135



                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the foregoing was filed and served on all counsel of

record this 31st day of October 2022, by way of the Court’s CM/ECF filing system.


                                            /s/ Michael S. Kruse




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